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1                                                         Judge Bryan

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6                     UNITED STATES DISTRICT COURT
                   WESTERN DISCTRICT OF WASHINGTON
7                              AT TACOMA
      UNITED STATES OF AMERICA           NO. 10-5435 RJB
8
                                    Plaintiff,
9                                                       Protective Order Between Mr. Lewis
                         v.
                                                        and Government Regarding Certain
10                                                      Discovery
      CHRISTOPHER LEWIS,
11                                  Defendant.
12
             This matter, having come to the Court’s attention on the Motion by Mr.
13
     Lewis and the Government for Protective Order, and the Court, having considered
14
     any responses filed by the defendants and overruling any objections, and having
15
     considered the entirety of the record and being fully advised in this matter, the Court
16
     hereby enters the following PROTECTIVE ORDER:
17

18           1.         Discovery Provided to Date

19           The Government has provided several batches of discovery to Defense

20   Counsel. One such batch was provided on 9/24/10 in CD/DVD format and contains

21   material that the Government deems sensitive. It is Bates-Stamped as follows: AHF

22   23-42; AL 1; CL 184-299; DM 74-77; GJ 32-117; HK 68-72. This material also
23
     Protective Order                            1                       PHIL BRENNAN, Esq.
                                                                             P.O. Box 22837
                                                                            Seattle, WA 98122
                                                                             (206) 372-5881
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1    includes a separate CD containing an interview of HK by the Lakewood Police

2    Department on 8/24/10. This material was provided to defense counsel on the
3    condition that copies not be given to the Defendants (they could review the same, but
4
     not retain copies). Mr. Lewis, however, would like to have copies of this material,
5
     which has prompted him and the Government to enter into this Protective Order.
6
             2.         Permissible Disclosure of Protected Material.
7
             The above referenced discovery provided by the Government on 9/24/10 is
8
     deemed “Protected Material.” Possession of copies of the Protected Material is
9
     limited to the defense attorney(s) record, but he/they may share it with the defendant
10

11   (subject to the limitation below), investigators, paralegals, assistants, law clerks,

12   experts and assistants for the attorneys of record (hereinafter collectively referred to

13   as "members of the defense team"). With regard to Mr. Lewis, his attorney is

14   authorized to make arrangements with the Federal Detention Facility at SeaTac for

15   Mr. Lewis to view this material in a secured area but the Defendant is not to retain
16   possession of this material after viewing it in this secured environment.
17
             Mr. Lewis and his attorney of record, and members of the defense team
18
     acknowledge that providing copies of the Protected Material to persons other than
19
     those listed above is prohibited, and agree not to duplicate or provide copies of the
20
     Protected Material to any other person. Mr. Lewis agrees not to share this protected
21
     material with other inmates at the FDC or anyone else. Further, the attorney of
22
     record is required, prior to disseminating any copies of the Protected Material to
23
     Protective Order                            2                         PHIL BRENNAN, Esq.
                                                                               P.O. Box 22837
                                                                              Seattle, WA 98122
                                                                               (206) 372-5881
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1    members of the defense team, to provide a copy of this Protective Order to members

2    of the defense team, and obtain written consent by members of the defense team of
3    their acknowledgment to be bound by the terms and conditions of this Protective
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     Order. The written consent need not be disclosed or produced to the United States
5
     unless requested by the Assistant United States Attorney and ordered by the Court.
6
             This order does not limit employees of the United States Attorney’s Office
7
     for the Western District of Washington from disclosing the Protected Material to the
8
     Court, defense counsel, members of the United States Attorney’s Office, and federal
9
     law enforcement agencies, and as necessary to comply with the government’s
10

11   discovery obligations.

12           3.         Additional Discovery

13           The Government will be providing additional discovery which will include

14   Jencks material and/or Grand Jury Testimony, witness statements, summaries of

15   witness statements, and photographs. The parties agree that this specifically
16   referenced additional discovery, or other discovery that the Government deems
17
     sensitive and specifically designates as such, is also covered and protected by this
18
     Protective Order.
19
             4.         Filing
20
             Any Protected Material that is filed with the court in connection with pre-trial
21
     motions, trial, or other matter before this Court, shall be filed under seal and shall
22
     remain sealed until otherwise ordered by this Court.
23
     Protective Order                            3                         PHIL BRENNAN, Esq.
                                                                               P.O. Box 22837
                                                                              Seattle, WA 98122
                                                                               (206) 372-5881
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1            5.         Nontermination

2            The provisions of this Order shall not terminate at the conclusion of this
3    prosecution.
4
             6.         Violation of Any Terms of this Order
5
             Any person who willfully violates this order may be held in contempt of
6
     court and may be subject to monetary or other sanctions as deemed appropriate by
7
     this Court. The Clerk of the Court is directed to provide a filed copy of this
8
     Protective Order to all counsel of record.
9
             DATED this 9th day of December, 2010.
10

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                        A
                        ROBERT J. BRYAN
15                      United States District Judge

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     Protective Order                                  4                    PHIL BRENNAN, Esq.
                                                                               P.O. Box 22837
                                                                              Seattle, WA 98122
                                                                               (206) 372-5881
